   

DENNETT WlNSPEAR

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RYAN L. DENNET|', ESQ.
Nevada Bar No. 005617
rdennett@dennettwinspear.com
DENNETT WlNSPEAR, LLP
3301 N. Buffalo Drivel Suite 195
Las Vegas, Nevada 89129
Te|ephone: (702) 839-1100
Facsimile: (702) 839-1 1 13
Attorneys for Defendants

UN|TED STATES D|STR|CT COURT
D|STR|CT OF NEVADA

THE ESTATE OF FLORENCE COVlNO,
by her Personal Representative,
BARBARA STEWART; PETER Case No:
COV|NO, JR.; PETER COV|NO l||;
HE|D| COV|NO LUEKENGA; AMMON
COVlNO; V|NCENT COVlNO;
MELODY COV|NO, each individually
And as heir of FLORENCE COV|NO,
Deceased. PET|T|ON FOR REMOVAL

P|aintiffs,
vs.

MALA GEOSC|ENCE USA, lNC., a

foreign corporation; MALA

GEOSC|ENCE FORVALTN|NG AB, a
foreign corporation; GU|DEL|NE GEO AB, a
foreign corporation; JEFFREY HALL;

DOES | through 10, inclusive,

 

Defendants.

TO: THE CLERK OF THE UN|TED STATES D|STR|CT COURT FOR THE SOUTHERN
D|STR|CT OF NEVADA:

PLEASE TAKE NOT|CE that Defendants, MALA GEOSC|ENCE USA, lNC. and
JEFFREY HALL, hereby remove the State action described herein to Federa| Court. The
grounds for removal are as follows:

1. On August 30, 2013, an action was commenced in the Eighth Judicia| District
Court, Clark County, Nevada, entitled “THE ESTATE OF FLORENCE COV|NO, by her Personal
Representative, BARBARA STEWART; PETER COV|NO, JR.; PETER COV|NO |l|; HElD|

 

 

 

   

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COV|NO LUEKENGA; AMMON COV|NO; V|NCENT COV|NO; MELODY COV|NO, each
individually And as heir of FLORENCE COV|NO, Deceased, P|aintiffs vs. MALA GEOSC|ENCE
USA, lNC., a foreign corporation; MALA GEOSC|ENCE FORVALTN|NG AB, a Foreign
corporation; JEFFREY HALL; DOES | through 10, inclusive, Defendant she Estate of F|orence
Covino, by her Personal Representative, Barbara " - Case No. A-13-687767-C. That Complaint
was Amended on October 29, 2014 to include GU|DEL|NE GEO AB, a foreign corporation.

2. A copy of all process, pleadings and orders served upon Defendants, Mala
Geoscience USA, lnc. and Jeffrey Ha|| in the State Court action is attached hereto as Exhibit “A”.

3. The instant action is a civil action of which this Court has original jurisdiction
under 28 U.S.C. §1332, and is one which may be removed to this Court by Defendants Mala
Geoscience USA, lNC. and JEFFREY HALL pursuant to the provisions of 28 U.S.C. §1441(b), in
that it is a civil action between citizens of different states and the matter in controversy exceeds
the sum of $75,000.00, exclusive of costs and interest. This is a wrongful death wherein
P|aintiffs are seeking policy limits of $1,000,000.00.

4. There is diversity of citizenship between P|aintiffs and Defendants. Defendants
are informed and believes that the P|aintiffs are non-residents of the State of Nevada, as alleged
in their Complaint and Amended Complaint. Defendant, MALA GEOSC|ENCE USA, lNC. was at
the time of filing of this action, and still is, a corporation incorporated in the State of De|aware.
MALA GEOSC|ENCE FORVALT|NG AB and GU|DEL|NE GEO AB, a foreign corporations
existing outside of the USA.

5. The matter in controversy exceeds $75,000,00. P|aintiffs are seeking damages
for both special and general damages for the wrongful death of F|orence Covino, as well as past
and future medical and wage loss of the Plaintiffs, grief and sorrow. P|aintiffs have previously
demanded the limits of Defendant's insurance of $1.000.000.00.

6. Defendant MALA GEOSC|ENCE, USA was served through its Registered Agentl
Nationa| Registered Agents, lnc. on December 2, 2013, and Defendant, JEFFREY HALLl was
served personally on December 1, 2013. Following repeated requests through Plaintiffs'

counsel, Defendants' counsel was provided with Proof of Service on these two Defendants on
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January 16, 2014 (Attached hereto as Exhibit "B")

7. F’ursuant to 28 U.S.C. §1446, a copy of this Notice of Remova| is being filed with
the C|erk of the Eighth Judicia| District Court, C|ark County, Nevada, and is further Served on all
parties hereto.

WHEREFORE, Defendants hereby remove the State action now pending against it in the

Eighth Judicial District Court. Clark County, Nevada, Case No. A-13-687767-C, to this Court.

DATED this §§ day of January, 2014.

    

Te|eph (702) 839-1100
Facsimile: (702) 839-1113
Attorneys for Defendants, MALA GEOSC|ENCE
USA, lNC. and JEFFREY HALL

 

 

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CERTIF|CATE OF SERV[CE

 

Pursuant to Fed. R. Civ. P. 5 and LR 5-1, l certify that l am an employee of DENNETT
WlNSPEAR, LLP, and that on the 22 day of January, 2014 the foregoing PETIT!ON FOR
REMOVAL was served upon the parties via CM!ECF and U.S. Mail by depositing a true and
correct copy thereof in the U.S. Mail, first class postage prepaid and addressed to the following

parties:

Richard A. l-larris, Esq.
Nevada Bar No. 505
RlCHARD HARRIS LAW FIRM
801 South 4‘h Street

Las Vegas, Nevada 89101
Te|ephone: (702) 444-4444
Facsimile: (702) 444-4455
Rick@RichardHarrisLaw.com
Attorneys for P!aintr`ffs

   

  

 

An Employee of NNETT WlNSPEAR, LLP

 

 

